                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLORADO

                                                  )
                                                  )
 JAY CONNOR, individually and on                  )           Case No. 1:24-cv-02286-CNS
 behalf of all others similarly situated,         )
                                                  )
                           Plaintiff,             )
                                                  )
           v.                                     )
                                                  )          DEFENDANT’S REPLY TO
 SERVICEQUIK INC. d/b/a/ ZING                     )         PLAINTIFF’S RESPONSE IN
 BUSINESS MANAGEMENT                              )        OPPOSITION TO MOTION TO
 SOFTWARE                                         )                 DISMISS
                                                  )
                           Defendant.             )




          Defendant is not disparaging Plaintiff but clarifying that the Telephone Consumer

Protection Act (TCPA) was not intended to shield individuals who knowingly have their phone

numbers listed publicly. The Do-Not-Call Registry is aimed at protecting consumers from

unsolicited marketing calls, not businesses. See 47 U.S.C. § 227(c)(3). Congress emphasized

balancing privacy with “legitimate telemarketing” in the TCPA’s purpose. 105 Stat. 2394 § 2(9)

(1991).

          Plaintiff argues that filing suit doesn’t invite violations, likening it to a homeowner

installing a burglar alarm (Dkt. No. 17, at 8), but a better analogy would be someone buying an

open-all-night diner, keeping the sign out front, then claiming anyone who enters is a burglar.

Plaintiff’s reliance on Krauker v Dish Network LLC is misplaced, as it dealt with a marketing

campaign directed specifically to homeowners. 925 F.3d 643 (4th Cir. 2019). In opposing the

validity of a class, Dish Network unsuccessfully argued that only the person who registered the

number, not the whole household, should have standing to be in the class. Id, at 656. The court


                                                      1
disagreed, but that case involved residential marketing campaigns and with data showing

“whether a number was residential” that Dish Network couldn’t show any error in. Id, at 658.

This is unlike the current case, which concerns a text message intended for a business.

         Similarly, Plaintiff’s reference to the Tsolumba case is about a different issue: whether

cell phones can be classified as “residential” at all for the purposes of the TCPA. No. 5:22-CV-

00712, 2023 WL 6146644 (N.D. Ohio Sept. 20, 2023). That Court only allowed the claim to

proceed because the number was “not associated with a business” and because of deference to a

2003 FCC ruling that, while not mentioning Chevron explicitly, certainly rings of the deferential

standard that has been recently overruled in the Supreme Court’s decision of Loper Bright

Enterprises v. Raimondo1. Id, at *5.

         The Do Not Call Registry provisions of the TCPA only apply if a Plaintiff receives two

messages, and Plaintiff’s own statements suggest he received just one 2. 47 U.S.C. § 227(c)(5).

Casting aside for the moment any argument that he should be judicially estopped from arguing a

contrary position from the one in State Court, the fact that he thought he only received one

message further indicates that he’s not within the zone of interests that the Congress intended to

protect. To take a hyper-technical approach to this offends common sense: could you say that

the message was actually several hundred “mini messages” of ones and zeroes?

         Defendant notes the relevance of Stoops. 197 F. Supp. 3d 782 (W.D. Pa. 2016). The case

is outlined adequately in the motion, but for the purposes of reply, it’s important to note that the

number in Stoops was reassigned from a business, the exact innocent-victim situation that


1
  144 S. Ct. 2244, 2273, 219 L. Ed. 2d 832 (2024) (“courts need not […] defer to an agency interpretation of the law
simply because a statute is ambiguous.”)
2
  The Plaintiff claims that he has “pled consistently” that he received two messages, but his state court complaint
indicates otherwise. See Plaintiff’s State Court Complaint, Dkt. No. 10-1, ¶¶ 19-25 (“Plaintiff received a text
message,”; “The Text was sent by…”; “a copy of the text is attached”; “The purpose of the Text”; “The Text
offered website services”). Further, his motion to dismiss in State Court states “Plaintiff recently identified a second
alleged text from Defendants on the same day of the first text…” (Dkt. No. 10-5, at 4).


                                                           2
Plaintiff alleges here. Id, at 791. Plaintiff might not have had thirty-five cell phones in a shoe

box, but having your number in the modern-day yellow pages is arguably worse. Google

provides a straightforward process for correcting bad information on its indexes.3 Courts should

not ignore common sense when privacy concerns are exaggerated for litigation.

          As Stoops reminds us, courts must prioritize cases of genuine harm to ensure justice is

served for those truly injury. Id, at 806. For these reasons, the Defendant respectfully requests

that the Court dismiss the action.



                                                         Respectfully submitted,

                                                         /s/ Daniel Summa
                                                         _________________________________
                                                         Daniel Summa
                                                         Summa Law Firm, LLC
                                                         3 Broad Street, #301
                                                         Charleston, SC 29401
                                                         843-277-9665 office
                                                         843-806-2920 fax
                                                         daniel@summalawfirm.com

                                                         Attorney for Defendant

October 18, 2024
Charleston, South Carolina




3
    https://support.google.com/maps/answer/3094088?sjid=9951730242255453346-NA


                                                     3
